
65 So. 3d 1132 (2011)
Christopher COLARUSSO, Appellant,
v.
Brenna Myers COLARUSSO, Appellee.
No. 3D09-2633.
District Court of Appeal of Florida, Third District.
July 6, 2011.
Deborah Marks, Miami, for appellant.
Heller and Chames, and Deborah S. Chames, Miami, for appellee.
Before WELLS, C.J., and SHEPHERD and EMAS, JJ.
PER CURIAM.
Affirmed. See Fla. R. Jud. Admin. 2.330(e) ("A motion to disqualify shall be filed within a reasonable time not to exceed 10 days after discovery of the facts constituting the grounds for the motion..."). See also Clements v. Banks, 159 So. 2d 892 (Fla. 3d DCA 1964); City of Coral Gables v. Brasher, 132 So. 2d 442 (Fla. 3d DCA 1961) (stating issue of trial *1133 court's alleged prejudice should have been raised and preserved below and could not properly be raised for first time on appeal).
